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                                                                          5                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   WAYMO LLC,                                                No. C 17-00939 WHA
                                                                         10                 Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12                                                             ORDER RE REQUEST TO FILE
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                  A MOTION TO EXCLUDE
                                                                         13   OTTOMOTTO LLC; and OTTO                                   WALTER BRATIC
                                                                              TRUCKING LLC,
                                                                         14                 Defendants.
                                                                         15                                             /

                                                                         16          The Court has reviewed plaintiff Waymo LLC’s précis requesting permission to file a
                                                                         17   motion to exclude Walter Bratic (Dkt. No. 2248) and defendants’ opposition thereto (Dkt. No.
                                                                         18   2259). Waymo may file the proposed motion by NOVEMBER 27 AT NOON, with the response
                                                                         19   due by DECEMBER 1 AT 5:00 P.M.
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                                                                         21          IT IS SO ORDERED.
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                                                                         23   Dated: November 24, 2017.
                                                                         24                                                         WILLIAM ALSUP
                                                                                                                                    UNITED STATES DISTRICT JUDGE
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